995 F.2d 1064
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Andrew Scott TARANTOLE, Plaintiff-Appellant,v.R. M. MUNCY, Warden (V.S.P.);  Glen Harris, Assistant Warden(V.S.P.);  Eugene W. Murray, Director of Corrections;Unknown Correctional Officer(s), (V.S.P.);  Nurse Streeter;R. Brown, Doctor (V.S.P.), Defendants-Appellees.
    No. 92-7207.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 10, 1993.Decided:  June 17, 1993.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Rebecca B. Smith, District Judge.  (CA-91-108-N)
      Andrew Scott Tarantole, Appellant Pro Se.
      Mark Ralph Davis, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      E.D.Va.
      AFFIRMED.
      Before MURNAGHAN and WILKINS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Andrew Scott Tarantole appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Tarantole v. Muncy, No. CA-91-108-N (E.D. Va.  Nov. 10, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    